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UNITED STATES OF AMERICA, CRIMINAL ACTION

           V.

MARIO LEVELL CHAPMAN ,                              NO . CR297-03 6




                                O R D E R



     Defendant ,    Mario Levell Chapman, a prisoner             currentl y

incarcerated at the Federal Correctional Institution in Jesup,

Georgia, has filed a motion pursuant to Federal Rule of Civil

Procedure 60(b) (6), seeking relief from the Court's final

judgment in the above-styled criminal proceeding . For the

following reasons, Chapman's motion will           be DISMISSED .




FACTS

     Following a jury trial, Chapman was convicted of arme d

robbery and use of a firearm during the commission of a crime'




1 The Court subsequently granted the Government's motion to
dismiss the count for use of a firearm during the commission of a
crime . See Doc . No . 98 .
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and sentenced to 220 months incarceration . The Eleventh

Circuit Court of Appeals affirmed both Chapman' s conviction and

sentence .

     On January 10, 2001, Chapman filed a habeas corpus

petition pursuant to 28 U .S .C . § 2255, asserting ineffective

assistance of counsel and an Apprendi claim . In his petition,

Chapman argued,     inter alia, that his counsel was ineffective

due to mental and physical disabilities . Following an

evidentiary hearing, the Magistrate Judge recommended that

Chapman's petition be denied . After an independent review of

the record, the Court overruled Chapman's objections, and

denied his § 2255 motion on the merits . The Eleventh Circuit

denied Chapman' s request for a certificate of appealability and

his motion for reconsideration .

     On July 23, 2004, the Eleventh Circuit denied Chapman's

application for leave to file a successive section 2255 motion .

In his application, Chapman sought to raise a claim that the

district court violated his Sixth Amendment right to have a

jury determine all facts essential to his sentence .

     On October 11, 2005, more than three years after the Court

denied his § 2255 motion, Chapman has filed the instant Rule

60(b) motion seeking to vacate the Court's denial . Chapma n



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asserts that the Court failed to consider and/or rule on hi s

claim that defense counsel's physical and mental health

resulted in ineffective assistance of counsel during pretrial,

trial, and sentencing, as required in Clisby v . Jones , 960 F .2d

925 (11th Cir . 1992),      reh'cr and reh'g en banc denied , 36 F .3d

96 (1994),     cert . denied , 513 U .S . 1162, 115 S . Ct . 1127, 130

L .Ed .2d 1089 (1995) .




DISCUSSION

     Rule 60( b) vests courts            in civil cases       with broad

discretion to reopen judgments on a wide variety of grounds .

See Fed .    R . Civ . P . 60 ( b) . The Eleventh Circuit,   however, has

held tha t

      [m]ost of the provisions of Rule 60 (b)   .  . . are
     inconsistent and irreconcilable with the
      [Antiterrorism and Effective Death Penalty Act of
     19961's purpose, which is to `greatly restrict [ ]
     the power of federal courts to award relief to state
     prisoners who file second or successive habeas corpus
     applications[ .] '

Gonzalez v . Sec' for De 't of Corr ., 366 F .3d 1253, 1271 (11th

Cir . 2004) (en banc), cert . granted, --- U .S . ----, 125 S . Ct .

961, 160 L .Ed .2d 896 (2005)2 (quoting Tyler v . Cain , 533 U .S .


2 The issue in Gonzalez is whether a Rule 60 motion is the appropriate
vehicle to challenge a habeas judgment when there has been "an intervening
change in the law applicable to the original [habeas] petition ." 366 F .3d
at 1263 . Thus, the United States Supreme Court's limited grant of
certiorari does not affect Chapman's claim in the instant motion .

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656, 661, 121 S . Ct . 2478, 2481-82, 150 L .Ed .2d 632 (2001)) .

As a result, Rule 60(b) motions filed to reopen a final habeas

judgment are generally "treated as an application to file a

second or successive [habeas] petition" and dismissed pursuant

to § 2244(b) .    Gonzalez , 366 F . 3d at 1277 . The district court

has jurisdiction to reopen a judgment in a § 2255 case only

when the Rule 60 (b) motion is filed to : (1) correct a clerical

error, or (2) remedy a fraud upon the court by government

agents .   Gonzalez , 366 F .3d at 1285-86 ; see also Post v . United

States , 129 Fed . Appx . 565 . 567 (11th Cir . 2005) .

     Chapman does not contend either that there was any

clerical error in the final judgment denying him federal habeas

relief, or that fraud was used to obtain that judgment . His

sole contention is that the judgment was wrong because the

Court failed to consider and resolve his claim that he was

denied effective assistance of counsel because of counsel's

health problems as required in Clisbv , 960 F .2d at 925 . Thus,

Chapman is attacking the correctness of the decision itself .

See Gonzalez , 366 F .3d at 1281 ("He is attacking the merits of

that decision--the term `merits' referring to the correctnes s

of the decision itself       .           Chapman' s Rule 60(b)     motion ,

filed more than three years after the Court denied his § 2255

motion, is an attempt to relitigate a claim that has already

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been presented in a prior application and rejected . Thus,

absent authorization, the Court lacks jurisdiction over

Chapman's unauthorized successive section 2255 motion and it

must be dismissed under § 2244 (b) (1) .          See Farris v . United

States , 333 F .3d 1211, 1216 (11th Cir . 2003) (per curiam)

("Without authorization, the district court lacks jurisdiction

to consider a second or successive petition .") .




CONCLUSION

     For the reasons set forth above, Chapman's motion seekin g

relief pursuant to Federal Rule of Civil Procedure 60(b) (6)

(Doc . No . 211)   is DISMISSED .

     SO ORDERED, this          C         day of December, 2005 .




                             JUDGE, UN TED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGI A




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